
31 A.3d 282 (2011)
208 N.J. 405
In the Matter of Jeffrey Allen BENNETT, an Attorney at Law (Attorney No. XXXXXXXXX).
D-35 September Term 2011, 069577
Supreme Court of New Jersey.
November 30, 2011.

ORDER
JEFFREY ALLEN BENNETT of DOYLESTOWN, PENNSYLVANIA, who was admitted to the bar of this State in 1992, having tendered his consent to disbarment as an attorney at law of the State of New Jersey, and good cause appearing;
It is ORDERED that JEFFREY ALLEN BENNETT is disbarred by consent, effective immediately; and it is further
ORDERED that respondent's name be stricken from the roll of attorneys and that he be permanently restrained and enjoined from practicing law; and it is further
ORDERED that all funds, if any, currently existing or hereinafter deposited in any New Jersey financial institution maintained by JEFFREY ALLEN BENNETT pursuant to Rule 1:21-6 shall be restrained from disbursement except on application to this Court for good cause shown and shall be transferred by the financial institution to the Clerk of the Superior Court, who is directed to deposit the funds in the Superior Court Trust Fund pending further Order of this Court; and it is further
ORDERED that respondent comply with Rule 1:20-20 dealing with disbarred attorneys; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for *283 appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
